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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                      Crim. No. 17-232 (EGS)
                     v.

MICHAEL T. FLYNN,

                                Defendant




                   SUPPLEMENTAL MEMORANDUM OF THE
                     COURT-APPOINTED AMICUS CURIAE


       During the oral argument held on September 29, 2020, this Court inquired

whether it should consider President Donald J. Trump’s statements on Twitter about

Michael T. Flynn’s prosecution and what weight to accord those statements.

       President Trump’s tweets are subject to judicial notice under Federal Rule of

Evidence 201(b)(2) because the fact that President Trump issued them “can be accurately

and readily determined from sources whose accuracy cannot reasonably be questioned.”

See Regents of Univ. of Cal. v. U.S. Dep’t of Homeland Sec., 279 F. Supp. 3d 1011, 1047

n.18 (N.D. Cal.) (taking judicial notice of a tweet by President Trump), aff’d 908 F.3d

476 (9th Cir. 2018), rev’d in part, vacated in part sub nom. Dep’t of Homeland Sec. v.

Regents of the Univ. of Cal., 140 S. Ct. 1891 (2020); Hawaii v. Trump, 859 F.3d 741, 773

n.14 (9th Cir.) (taking judicial notice of tweet by President Trump), vacated on other

grounds, 138 S. Ct. 377 (2017). As these courts have recognized, there is no dispute as to
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the authenticity of the tweets.    In fact, it is so well-settled that these tweets are

attributable to President Trump that courts have concluded they constitute official

statements in certain contexts. See Knight First Amendment Inst. at Columbia Univ. v.

Trump, 928 F.3d 226, 234, 236 (2d Cir. 2019) (President Trump “acts in an official

capacity when he tweets” and therefore “may not selectively exclude those whose views

he disagrees with.”); Karnoski v. Trump, 926 F.3d 1180, 1186 (9th Cir. 2019)

(concluding that Trump had “announced on Twitter that transgender individuals would

not be allowed to serve in the military” and “[t]his was followed by an August 2017

Memorandum implementing his announcement”).             Both President Trump and the

Government have previously admitted as much. Knight First Amendment Inst., 928 F.3d

at 231–32 (“The President and multiple members of his administration have described his

use of the [@realDonaldTrump Twitter] Account as official. . . .      For example, the

President used th[at] Account to announce the nomination of Christopher Wray as FBI

director and to announce the administration’s ban on transgender individuals serving in

the military.”); Defs.’ Suppl. Submission & Further Resp. to Pls.’ Post-Briefing Notices

at 4, James Madison Project v. Dep’t of Justice, 302 F. Supp. 3d 12 (D.D.C. 2018) (Case

No. 17–cv–00144 (APM)) (arguing that tweets from @realDonaldTrump were “official

statements of the President of the United States”); Trump v. Hawaii, 138 S. Ct. 2392,

2437 n.1 (2018) (Sotomayor, J., dissenting) (“According to the White House, President

Trump’s statements on Twitter are ‘official statements.’”).

       Accordingly, this Court may take judicial notice of President Trump’s tweets

cited in my Brief for Court-Appointed Amicus Curiae, ECF No. 225, at 57–58, and


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accord them the same weight it would any other statement by the President of the United

States.



Dated: New York, N.Y.                                Respectfully submitted,
       October 7, 2020




                                                     /s/ John Gleeson
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          On May 18, 2020, the Court ordered that I be admitted pro hac vice to appear in
          this matter, be conferred full privileges to file and receive papers through the
          Court’s CM/ECF system in this proceeding, and be excused from the local
          counsel requirement of Local Criminal Rule 44.1(c)(1). See Minute Order of May
          18, 2020.


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